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                                                         HONORABLE RICHARD A. JONES
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10                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
11                                     AT SEATTLE
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13   STANTON HARRY MCCAIN II,
14                  Petitioner,                        Case No. C18-328-RAJ-MLP

15          v.                                         ORDER OF DISMISSAL
16
     DONALD R. HOLBROOK,
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                    Respondent.
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19                                    I.   INTRODUCTION
20          Having reviewed the Report and Recommendation of the Honorable Michelle L.
21   Peterson, United States Magistrate Judge, Petitioner’s objections to that, and the
22   remaining record, the Court finds and ORDERS:
23          (1) The Report and Recommendation (Dkt. # 67) is ADOPTED in full.
24          (2) Petitioner’s habeas petition is DENIED as untimely.
25          (3) A certificate of appealability is DENIED as to all issues raised in the response
26          to the order to show cause.
27          (4) This action is DISMISSED with prejudice.
28   ORDER – 1
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1         (5) The Clerk is directed to send copies of this Order to the parties and to Judge
2         Peterson.
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          DATED this 25th day of September, 2020.
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                                                    A
8                                                   The Honorable Richard A. Jones
                                                    United States District Judge
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28   ORDER – 2
